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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION


CHANDRA K. BROWN,

                        Plaintiff,

                       v.                               CAUSE NO.: 1:19-CV-319-TLS-APR

ANDREW M. SAUL, Commissioner of the
Social Security Administration,

                       Defendant.

                                              ORDER

       This matter is before the Court on the Report and Recommendation of the United States

Magistrate Judge [ECF No. 19], filed by Magistrate Judge Andrew P. Rodovich on July 28,

2020. On July 19, 2019, Plaintiff filed a Complaint [ECF No. 1] in which she sought to appeal a

final administrative decision which denied her request for disability benefits. Plaintiff filed an

Opening Brief [ECF No. 12], Defendant filed a Response [ECF No. 17], and Plaintiff filed a

Reply [ECF No. 18]. On October 16, 2019, this matter was referred to Judge Rodovich for a

Report and Recommendation. See Order, ECF No. 11. In the July 28, 2020 Report and

Recommendation, Judge Rodovich recommends that the Court reverse the decision of the

Commissioner of the Social Security Administration and remand for further proceedings. R. &

R. 12, ECF No. 19.

       The Court’s review of a Magistrate Judge’s Report and Recommendation is governed by

28 U.S.C. § 636(b)(1)(C), which provides as follows:

       Within fourteen days after being served with a copy, any party may serve and file
       written objections to such proposed findings and recommendations as provided by
       rules of court. A judge of the court shall make a de novo determination of those
       portions of the report or specified proposed findings or recommendations to which
       objection is made. A judge of the court may accept, reject, or modify, in whole or
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       in part, the findings or recommendations made by the magistrate judge. The judge
       may also receive further evidence or recommit the matter to the magistrate judge
       with instructions.

28 U.S.C. § 636(b)(1)(C); see also Fed. R. Civ. P. 72(b)(2) (“Within 14 days after being served

with a copy of the recommended disposition, a party may serve and file specific written

objections to the proposed findings and recommendations.”). Judge Rodovich gave the parties

notice that they had fourteen days to file objections to the Report and Recommendation. As of

the date of this Order, neither party has filed an objection to Judge Rodovich’s Report and

Recommendation, and the time to do so has passed. The Court has reviewed the Report and

Recommendation and finds that the Magistrate Judge’s proposed disposition is well taken.

       Therefore, the Court ACCEPTS, IN WHOLE, the Report and Recommendation of the

United States Magistrate Judge [ECF No. 19]. The Court REVERSES the final decision of the

Commissioner of the Social Security Administration and REMANDS this matter for further

proceedings consistent with this Order.

       SO ORDERED on September 25, 2020.

                                             s/ Theresa L. Springmann
                                             JUDGE THERESA L. SPRINGMANN
                                             UNITED STATES DISTRICT COURT




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